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                 Exhibit C
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15
                                 UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                    SAN FRANCISCO DIVISION
18

19   ORACLE AMERICA, INC.                        Case No. 3:10-cv-03561-WHA

20                 Plaintiff,                    Honorable Judge William Alsup
21          v.                                   DEFENDANT GOOGLE INC.’S
22                                               SUPPLEMENTAL RESPONSES TO
     GOOGLE INC.                                 PLAINTIFF’S INTERROGATORIES, SET
23                                               ONE, NOS. 4-16
                   Defendant.
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 1                           SPECIFIC OBJECTIONS AND RESPONSES
 2          Google’s responses to Plaintiff’s Interrogatories are based upon Google’s current
 3   information and belief as a result of reasonable searches and inquiries. Google reserves its right
 4   to amend and supplement its responses as it learns additional facts.
 5   INTERROGATORY NO. 4:
 6          Please explain the factual and legal bases for Google’s pleading of its third affirmative
 7   defense: Patent Unenforceability (Waiver, Estoppel, Laches).
 8   SUPPLEMENTAL RESPONSE:
 9          In addition to its General Objections, Google objects to this Interrogatory as it seeks
10   information protected by the attorney-client privilege, the work product doctrine, and/or any
11   other applicable privilege, immunity, or protection. Google further objects to this Interrogatory
12   as unduly burdensome as it is not reasonably calculated to lead to the discovery of admissible
13   information. Google further objects to the request to “explain” factual bases as vague and
14   ambiguous. Google further objects to any implication in this Interrogatory that Google has any
15   burden beyond what is required by any applicable statute or case law. Google further objects to
16   any implication that the theories of patent unenforceability included under this heading in
17   Google’s Answer and Counterclaims necessarily share common factual or legal bases.
18          Google further objects to the extent that certain factual contentions involved in the
19   pleading of these theories were made “upon information and belief” that, after a reasonable
20   opportunity for further investigation, Google would likely have evidentiary support. Google has
21   served discovery requests related to this defense but has not yet received completion of
22   production of responsive information. Google further objects on the basis that Oracle has
23   produced excessive amounts of non-responsive and irrelevant documents, produced incomplete
24   materials in a haphazard manner, withheld what are likely the most pertinent documents to many
25   defenses based on a broad privilege screen, removed “exception” documents with certain non-
26   searchable attachments for manual review (which has not been completed), and inexplicably
27   taken months to produce certain plainly relevant documents despite repeated requests and
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      DEFENDANT GOOGLE INC.’S SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE, NOS. 4-16.
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 1   assurances that it was collecting responsive documents. The combined effect of the foregoing is
 2   that review of Oracle’s production has been exceedingly difficult as Google has to sift through
 3   large quantities of non-responsive and irrelevant documents such as personal photographs and
 4   junk e-mail. Further, Google believes due to Oracle’s approach, the most pertinent information
 5   to Google’s defenses has yet to be produced by Oracle despite being over half way through fact
 6   discovery.
 7             Inclusion of Oracle’s allegations in the list of facts in this response does not mean that
 8   Google agrees with the veracity of the allegation, but merely references the fact that particular
 9   allegations were made. Google expressly maintains all objections made in responsive pleadings.
10   Google further objects to this Interrogatory as unnecessary in view of the specific disclosures
11   contemplated by the Patent Local Rules as well as premature at least because claim terms have
12   not been construed and any response herein is made in view of the lack of certainty with respect
13   to the resolution of the meaning of claim terms.
14             Subject to the foregoing objections and the General Objections, without waiver or
15   limitation thereof, Google states that the following facts relevant to this defense were in its
16   possession or accessible to Google at the time it pleaded this defense in its Answer and
17   Counterclaims:
18   x     Allegations contained in Oracle’s Complaint and Exhibits (Doc. #1).
19   x     Allegations contained in Oracle’s Amended Complaint and Exhibits (Doc. #36).
20   x     Allegations contained in presentation materials received from Oracle pursuant to Rule 408 of
21         the Federal Rules of Evidence.
22   x     The patents-in-suit and their prosecution histories.
23   x     Publicly available documents with information regarding the statements and actions of
24         Oracle and its predecessor Sun Microsystems, Inc. including the information disclosed in
25         paragraphs 1 through 10 of the counterclaims asserted in Google’s Answer and
26         Counterclaims under the heading “The Java Platform and Programming Language,” as well
27         as the information produced at GOOGLE-00305323 through GOOGLE-00305769.
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         DEFENDANT GOOGLE INC.’S SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE, NOS. 4-16.
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 1   x     Publicly available documents with information regarding the development of the Android
 2         Platform, including the information disclosed in paragraphs 11 through 17 of the
 3         counterclaims asserted in Google’s Answer and Counterclaims under the heading “The Open
 4         Handset Alliance and Development of the Android Platform.”
 5   x     Facts relating to the market for Android as disclosed in paragraphs 20 through 22 under the
 6         heading “Android and the Java Programming Language” of Google’s Answer and
 7         Counterclaims. These facts are publicly available, see, e.g., GOOGLE-00320072 through
 8         GOOGLE-00320077.
 9             Google further states that, as reflected in Oracle’s Final Patent L.R. 3-1 Contentions,
10   Oracle was aware of Android pursuant to discussions with Andy Rubin prior to Android’s
11   acquisition by Google, which are believed to have occurred at least as early as 2005. Also, on
12   May 26, 2006, Oracle representatives met with Andy Rubin to discuss CDC-HI and open source.
13   See, e.g., OAGOOGLE0100029446. Google further states that Sun believed Android to
14   allegedly infringe Sun’s proprietary rights at least as early as these discussions, but no later than
15   November 15, 2007, which knowledge is properly attributed to Oracle. See Deposition of
16   Andrew E. Rubin, 26:7-11; OAGOOGLE0000240996.
17             On information and belief, Sun never intended to assert patent infringement claims
18   against Google relating to Android and Google relied on Sun’s position. See, e.g., Steve Lohr,
19 Software War Pits Oracle v. Google, N.Y. Times, August 30, 2010 (“Sun eventually chose not to

20 sue Google, the former Sun manager said, because it decided a patent lawsuit would undercut the

21 company’s open-source efforts under Jonathan Schwartz, Sun’s chief executive who resigned in

22 February after the Oracle acquisition.”). In fact, former Sun CEO Jonathan Schwartz

23 congratulated Google when Android was announced and publicly commented that “[t]oday is an

24 incredible day for the open source community, and a massive endorsement of two of the

25 industry’s most prolific free software communities . . . .”

26 http://blogs.sun.com/jonathan/entry/congratulations_google. In addition, in an October 24, 2008

27 presentation entitled “Compatibility is Optional,” Sun cites to Android as an example of an

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 1   alleged “incompatible implementation” that Sun had been unwilling to enforce legal rights
 2   against. See OAGOOGLE0000110526_00002106. In that same presentation, Sun claims that
 3   “Dalvik is essentially a fine-tuned version of Java, which Google made to avoid licensing fees,”
 4   but ultimately concludes that Sun should pursue a policy that “compatibility is optional” or in
 5   other words, not pursue or threaten litigation against Google. See id. Further, Sun continuously
 6   touted the fact that Java is meant to be open source and free. See, e.g.,
 7   OAGOOGLE0000110534_00121381, Java SE Open Source: Communications and Marketing
 8   Plan dated October 4, 2006 (Regarding November 6th Launch: “What we’ll say: ‘Java is Free!’”).
 9   Indeed, based on this open source policy, some Sun representatives believed that they could not
10   even “sue Google . . . given this [Java] is Open Source.” See OAGOOGLE0000240996.
11          Nevertheless, despite Sun’s publicly stated position and Google’s reliance on the same,
12   Oracle (after acquiring Sun and the patents-in-suit) waited several years before bringing suit,
13   while the Android market grew and while Google and numerous handset manufacturers and
14   other entities made significant investments in the Android Platform. Google further states that
15   Oracle’s actions cited herein, including statements and actions of its predecessor Sun
16   encouraging use of the Java programming language, form the basis of Google’s defenses
17   involving waiver, estoppel and laches. Sun’s / Oracle’s delay was unreasonable, Google
18   reasonably relied on Sun’s / Oracle’s acquiescence and delay; and, if Sun or Oracle had asserted
19   claims earlier, Google could have made different choices regarding the inclusion of certain
20   elements in Android. Sun’s / Oracle’s delay has been prejudicial to Google in several respects,
21   including that numerous relevant documents (including patent-related correspondence by the
22   inventors) were apparently not maintained by Sun / Oracle, memories of witnesses have faded,
23   and Google has been required to expend significant resources defending Oracle’s late claims.
24   INTERROGATORY NO. 5:
25          Please explain the factual and legal bases for Google’s pleading of its fourth affirmative
26   defense: Substantial Non-Infringing Uses (Patent).
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      DEFENDANT GOOGLE INC.’S SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE, NOS. 4-16.
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 1   operation. To invoke the functionalities of any API (such as math.abs()), a programmer simply
 2   uses the appropriate method name. In addition, the following three Java APIs are unprotectable
 3   because they were released into the public domain by their author, Doug Lea:
 4   java.util.concurrent, java.util.concurrent.atomic, and java.util.concurrent.locks.
 5          In addition, any similarities between any protectable elements of the Asserted Works and
 6   the Android Platform are, at most, de minimis and not actionable. Google has served
 7   Interrogatories to obtain further details regarding Oracle’s copyright allegations and requires
 8   complete responses to those Interrogatories to respond more completely to this Interrogatory.
 9   Google therefore reserves the right to supplement this response accordingly.
10   INTERROGATORY NO. 10:
11          Please explain the factual and legal bases for Google’s pleading of its eleventh
12   affirmative defense: Copyright Unenforceability (Waiver, Estoppel, Laches).
13   SUPPLEMENTAL RESPONSE:
14          In addition to its General Objections, Google objects to this Interrogatory as it seeks
15   information protected by the attorney-client privilege, the work product doctrine, and/or any
16   other applicable privilege, immunity, or protection. Google further objects to this Interrogatory
17   as unduly burdensome as it is not reasonably calculated to lead to the discovery of admissible
18   information. Google further objects to the request to “explain” factual bases as vague and
19   ambiguous. Google further objects to any implication in this Interrogatory that Google has any
20   burden beyond what is required by any applicable statute or case law. Google further objects to
21   any implication that the theories of copyright unenforceability included under this heading in
22   Google’s Answer and Counterclaims necessarily share common factual or legal bases. Google
23   further objects to the extent that certain factual contentions involved in the pleading of these
24   theories were made “upon information and belief,” that after a reasonable opportunity for further
25   investigation, Google would likely have evidentiary support.
26          Google has served discovery requests related to this defense but has not yet received
27   completion of production of responsive information. Google further objects on the basis that
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      DEFENDANT GOOGLE INC.’S SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE, NOS. 4-16.
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 1   Oracle has produced excessive amounts of non-responsive and irrelevant documents, produced
 2   incomplete materials in a haphazard manner, withheld what are likely the most pertinent
 3   documents to many defenses based on a broad privilege screen, removed “exception” documents
 4   with certain non-searchable attachments for manual review (which has not been completed), and
 5   inexplicably taken months to produce certain plainly relevant documents despite repeated
 6   requests and assurances that it was collecting responsive documents. The combined effect of the
 7   foregoing is that review of Oracle’s production has been exceedingly difficult as Google has to
 8   sift through large quantities of non-responsive and irrelevant documents such as personal
 9   photographs and junk e-mail. Further, Google believes due to Oracle’s approach, the most
10   pertinent information to Google’s defenses has yet to be produced by Oracle despite being over
11   half way through fact discovery.
12             Inclusion of Oracle’s allegations in the list of facts in this response does not mean that
13   Google agrees with the veracity of the allegation, but merely references the fact that particular
14   allegations were made. Google expressly maintains all objections made in responsive pleadings.
15             Subject to the foregoing objections and the General Objections, without waiver or
16   limitation thereof, Google states that the following facts relevant to this defense were in its
17   possession or accessible to Google at the time it pleaded this defense in its Answer and
18   Counterclaims:
19   x     Allegations contained in Oracle’s Complaint and Exhibits (Doc. #1).
20   x     Facts contained or cited in Google’s Motion to Dismiss (Doc. #33).
21   x     Allegations contained in Oracle’s Amended Complaint and Exhibits (Doc. #36).
22   x     Allegations contained in Oracle’s Opposition to Google’s Motion to Dismiss (Doc. #40).
23   x     Publicly available information relating to the Asserted Works including the documents
24         produced at GOOGLE-00319933 through GOOGLE-00320071.
25   x     Publicly available documents with information regarding the statements and actions of
26         Oracle and its predecessor Sun Microsystems, Inc. including the information disclosed in
27         paragraphs 1 through 10 of the counterclaims asserted in Google’s Answer and
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 1         Counterclaims under the heading “The Java Platform and Programming Language,” as well
 2         as the information produced at GOOGLE-00305323 through GOOGLE-00305769.
 3   x     Publicly available documents with information regarding the development of the Android
 4         Platform, including the information disclosed in paragraphs 11 through 17 of the
 5         counterclaims asserted in Google’s Answer and Counterclaims under the heading “The Open
 6         Handset Alliance and Development of the Android Platform.”
 7   x     Facts relating to the market for Android as disclosed in paragraphs 20 through 22 under the
 8         heading “Android and the Java Programming Language” of Google’s Answer and
 9         Counterclaims. These facts are publicly available, see, e.g., GOOGLE-00320072 through
10         GOOGLE-00320077.
11             Google expressly incorporates by references its response to Interrogatory No. 4. Google
12   further states that, as reflected in Oracle’s Patent Local Rule 3-1 disclosures, Oracle was aware
13   of Android pursuant to discussions with Andy Rubin prior to Android’s acquisition by Google,
14   which are believed to have occurred at least as early as 2005. Also, on May 26, 2006, Oracle
15   representatives met with Andy Rubin to discuss CDC-HI and open source. See, e.g.,
16 OAGOOGLE0100029446. Google further states that Sun believed Android to allegedly infringe

17 Sun’s proprietary rights at least as early as these discussions, but no later than November 15,

18 2007, which knowledge is properly attributed to Oracle. See Deposition of Andrew E. Rubin,

19 26:7-11; OAGOOGLE0000240996. Google further states that Oracle was aware of Android and

20 the Open Handset Alliance, at least as early as November 2007, as reflected by Jonathan

21 Schwartz’s public comments congratulating Google and the Open Handset Alliance on the

22 announcement of Android.

23             Oracle nevertheless delayed several years before bringing suit (even though the Android
24 source code was publicly available), while the Android market grew and while Google and

25 numerous handset manufacturers and other entities made significant investments in the Android

26 Platform. Google further states that Oracle’s actions, including statements and actions of its

27 predecessor Sun encouraging use of the Java programming language and congratulating Google

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 1    on the launch of Android, form the basis of Google’s defenses of waiver, estoppel and laches.
 2    Sun’s / Oracle’s delay was unreasonable, Google reasonably relied on Sun’s / Oracle’s
 3    acquiescence and delay; and, if Sun or Oracle had asserted claims earlier, Google could have
 4    made different choices regarding the inclusion of certain elements in Android. Sun’s / Oracle’s
 5    delay has been prejudicial to Google in several respects, including that numerous relevant
 6    documents (including complete copies of the Asserted Works themselves) were apparently not
 7    maintained by Sun / Oracle, memories of witnesses have faded, and Google has been required to
 8    expend significant resources defending Oracle’s late claims.
 9           Google further states that, upon information and belief, Oracle knew at least as early as
10    May 2005 that elements of the Android Platform were made publicly available by the Apache
11    Software Foundation under the terms of the Apache Software License version 2.0 and that use of
12    these elements was necessary to allow for interoperability. Google further states that, upon
13    information and belief, Oracle knew at least as early as April 2004 that elements of the Java
14    platform were made publicly available by the GNU Project. Upon information and belief, Oracle
15    has never pursued any claim against the Apache Software Foundation or the GNU Project or
16    accused the materials created by the Apache Harmony Project or the GNU Classpath Project of
17    infringement and it is a publicly known fact that many members of the software development
18    community have relied upon the availability of software code embodied in the Apache Harmony
19    Project materials under the terms of the Apache Software License version 2.0, or embodied in
20    the GNU Classpath Project materials under the terms of the GNU General Public License, and
21    used or distributed that code under those terms. Google has a reasonable belief that the
22    discovery it has requested will reveal additional evidence to support this defense and reserves the
23    right to supplement this response accordingly.
24    INTERROGATORY NO. 11:
25           Please explain the factual and legal bases for Google’s pleading of its twelfth affirmative
26    defense: Fair Use.
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 1              Subject to the foregoing objections and the General Objections, without waiver or
 2    limitation thereof, Google states that the following facts relevant to this defense were in its
 3    possession or accessible to Google at the time it pleaded this defense in its Answer and
 4    Counterclaims:
 5    x     Allegations contained in Oracle’s Complaint and Exhibits (Doc. #1).
 6    x     Facts contained or cited in Google’s Motion to Dismiss (Doc. #33).
 7    x     Allegations contained in Oracle’s Amended Complaint and Exhibits (Doc. #36).
 8    x     Allegations contained in Oracle’s Opposition to Google’s Motion to Dismiss (Doc. #40).
 9    x     Publicly available information relating to the Asserted Works including the documents
10          produced at GOOGLE-00319933 through GOOGLE-00320071.
11    x     Documents relating to third parties including statements of work, which are being withheld
12          pending third party permission to produce, and authorized contributor questionnaires
13          produced at GOOGLE-00320078 through GOOGLE-00320235.
14              Google further states that Google took reasonable steps to insure that any third parties
15    involved in the development of Android did not use or reference existing source code other than
16    materials that were in the public domain and/or openly available through permissive (or
17    equivalent) licenses. Examples of representations to this effect by such third parties are included
18    in the production cited. To the extent any third party or individual did not perform its tasks
19    according to Google’s requirements, those actions were without Google’s knowledge and are not
20    attributable to Google. Google further states that it identified third parties that contributed to the
21    development of Android in response to Interrogatory No. 1.
22    INTERROGATORY NO. 15:
23              Please explain the factual and legal bases for Google’s pleading of its seventeenth and
24    eighteenth affirmative defenses: License and Implied License.
25    SUPPLEMENTAL RESPONSE:
26              In addition to its General Objections, Google objects to this Interrogatory as an explicit
27    multiple-part Interrogatory going to two different defenses and the following objections refer to
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          DEFENDANT GOOGLE INC.’S SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE, NOS. 4-16.
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 1    both distinct requests. Google further objects to this multi-part Interrogatory as seeking
 2    information protected by the attorney-client privilege, the work product doctrine, and/or any
 3    other applicable privilege, immunity, or protection. Google further objects to this multi-part
 4    Interrogatory as unduly burdensome as it is not reasonably calculated to lead to the discovery of
 5    admissible information. Google further objects to the request to “explain” factual bases as vague
 6    and ambiguous. Google further objects to any implication in this multi-part Interrogatory that
 7    Google has any burden beyond what is required by any applicable statute or case law. Google
 8    further objects to the extent that certain factual contentions involved in the pleading of these
 9    defenses were made “upon information and belief” that, after a reasonable opportunity for further
10    investigation, Google would likely have evidentiary support.
11           Google has served discovery requests related to these defenses but has not yet received
12    completion of production of responsive information. Google further objects on the basis that
13    Oracle has produced excessive amounts of non-responsive and irrelevant documents, produced
14    incomplete materials in a haphazard manner, withheld what are likely the most pertinent
15    documents to many defenses based on a broad privilege screen, removed “exception” documents
16    with certain non-searchable attachments for manual review (which has not been completed), and
17    inexplicably taken months to produce certain plainly relevant documents despite repeated
18    requests and assurances that it was collecting responsive documents. The combined effect of the
19    foregoing is that review of Oracle’s production has been exceedingly difficult as Google has to
20    sift through large quantities of non-responsive and irrelevant documents such as personal
21    photographs and junk e-mail. Further, Google believes due to Oracle’s approach, the most
22    pertinent information to Google’s defenses has yet to be produced by Oracle despite being over
23    half way through fact discovery.
24           Inclusion of Oracle’s allegations in the list of facts in this response does not mean that
25    Google agrees with the veracity of the allegation, but merely references the fact that particular
26    allegations were made. Google expressly maintains all objections made in responsive pleadings.
27    Google further objects to this multi-part Interrogatory as unnecessary with respect to the
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       DEFENDANT GOOGLE INC.’S SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE, NOS. 4-16.
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 1    defenses as they pertain to patent in view of the specific disclosures contemplated by the Patent
 2    Local Rules.
 3              Subject to the foregoing objections and the General Objections, without waiver or
 4    limitation thereof, Google states that the following facts relevant to this defense were in its
 5    possession or accessible to Google at the time it pleaded these defenses in its Answer and
 6    Counterclaims:
 7    x     Allegations contained in Oracle’s Complaint and Exhibits (Doc. #1).
 8    x     Facts contained or cited in Google’s Motion to Dismiss (Doc. #33).
 9    x     Allegations contained in Oracle’s Amended Complaint and Exhibits (Doc. #36).
10    x     Allegations contained in Oracle’s Opposition to Google’s Motion to Dismiss (Doc. #40).
11    x     Publicly available information relating to the Asserted Works including the documents
12          produced at GOOGLE-00319933 through GOOGLE-00320071.
13    x     Allegations contained in presentation materials received from Oracle pursuant to Rule 408 of
14          the Federal Rules of Evidence.
15    x     The patents-in-suit and their prosecution histories.
16    x     Publicly available documents with information regarding the statements and actions of
17          Oracle and its predecessor Sun Microsystems, Inc. including the information disclosed in
18          paragraphs 1 through 10 of the counterclaims asserted in Google’s Answer and
19          Counterclaims under the heading “The Java Platform and Programming Language,” as well
20          as the information produced at GOOGLE-00305323 through GOOGLE-00305769.
21    x     Publicly available documents with information regarding the development of the Android
22          Platform, including the information disclosed in paragraphs 11 through 17 of the
23          counterclaims asserted in Google’s Answer and Counterclaims under the heading “The Open
24          Handset Alliance and Development of the Android Platform.”
25    x     Facts relating to the market for Android as disclosed in paragraphs 20 through 22 under the
26          heading “Android and the Java Programming Language” of Google’s Answer and
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 1       Counterclaims. These facts are publicly available, see, e.g., GOOGLE-00320072 through
 2       GOOGLE-00320077.
 3           Google further states that, as presently understood, Oracle’s allegations are directed
 4    toward one or more functionalities that are likely licensed by alleged direct infringers for at least
 5    some Accused Instrumentalities. Because Oracle has not specified with precision the Accused
 6    Instrumentalities and alleged direct infringers, Google cannot respond more completely to this
 7    Interrogatory. By way of example, certain of Oracle’s allegations with regard to the ‘520 patent
 8    include its own program, javac, as a component of the allegation. In its Final Patent L.R. 3-1
 9    Contentions, Oracle has still not identified specific purported direct infringers and instead
10    identified broad categories such as developers. Oracle has also significantly changed it
11    allegations in its supplementation on April 1, although it still has not identified on a claim by
12    claim basis the identity of alleged direct infringers performing each step of each claim, making
13    Google’s investigation into this defense difficult. Further, Oracle continues to produce licenses,
14    including incomplete license portions produced in a haphazard manner. Google is still analyzing
15    these new allegations and will supplement as it receives more information regarding Oracle’s
16    licenses.
17           Google further states that in the absence of an explicit license to asserted patents and
18    copyrights, Google and other purported infringers are entitled to an implied license based on
19    Oracle’s actions, including the statements, actions and inactions of its predecessor Sun as
20    referenced in Google’s answers set forth above. Google has a reasonable belief that the
21    discovery it has served but not yet received complete production of will reveal additional
22    evidence to support this defense and reserves the right to supplement this response accordingly.
23           Google further states that, upon information and belief, Oracle knew at least as early as
24    May 2005 that elements of the Android Platform were made publicly available by the Apache
25    Software Foundation under the terms of the Apache Software License version 2.0 and that use of
26    these elements was necessary to allow for interoperability. Upon information and belief, Oracle
27    has never pursued any claim against the Apache Software Foundation or accused the materials
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       DEFENDANT GOOGLE INC.’S SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE, NOS. 4-16.
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 1    created through the Apache Harmony Project of infringement and it is a publicly known fact that
 2    many members of the software development community have relied upon the availability of
 3    software code embodied in the Apache Harmony materials under the terms of the Apache
 4    Software License version 2.0 and used or distributed that code under those terms. Google further
 5    states that, on information and belief, starting in 1998, Professor Doug Lea wrote a software
 6    package called “dl.util.concurrent,” and released it into the public domain by explicitly
 7    disclaiming all rights in the software. See, e.g.,
 8    http://gee.cs.oswego.edu/dl/classes/EDU/oswego/cs/dl/util/concurrent/intro.html Similarly, on
 9    information and belief, starting in 1999 and continuing through at least 2005, Oracle’s
10    predecessor, Sun Microsystems, Inc., donated reference implementations for the javax.xml
11    packages to the Apache Foundation under the terms of the Apache Software License version 2.0.
12    See, e.g., http://mail-archives.apache.org/mod_mbox/xerces-j-
13    dev/200102.mbox/%3C3A7B534B.2017AE0F@eng.sun.com%3E.
14           Google further states that Oracle continues to produce licenses that were requested
15    several months ago with the most recent production dated April 1, 2011, and Google has not had
16    a meaningful opportunity to review all of the licenses. Google has a reasonable belief that the
17    discovery it has requested will reveal additional evidence to support this defense and reserves the
18    right to supplement this response accordingly.
19    INTERROGATORY NO. 16:
20           Please explain the factual and legal bases for Google’s pleading of its nineteenth
21    affirmative defense: Unclean Hands.
22    SUPPLEMENTAL RESPONSE:
23           In addition to its General Objections, Google objects to this Interrogatory as seeking
24    information protected by the attorney-client privilege, the work product doctrine, and/or any
25    other applicable privilege, immunity, or protection. Google further objects to this Interrogatory
26    as unduly burdensome as it is not reasonably calculated to lead to the discovery of admissible
27    information. Google further objects to the request to “explain” factual bases as vague and
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       DEFENDANT GOOGLE INC.’S SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE, NOS. 4-16.
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 1    License version 2.0, or embodied in the GNU Classpath Project materials under the terms of the
 2    GNU General Public License, and used or distributed that code under those terms. Google has a
 3    reasonable belief that the discovery it has requested will reveal additional evidence to support
 4    this defense and reserves the right to supplement this response accordingly.
 5
      DATED: April 25, 2011                          KING & SPALDING LLP
 6

 7
                                                     By: /s/ Scott T. Weingaertner
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       DEFENDANT GOOGLE INC.’S SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE, NOS. 4-16.
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